
PER CURIAM.
On this appeal by Frankie Jones from a judgment of conviction following a jury trial on drug related charges, and sentence thereon, the sole point raised is that the trial court erred in failing to grant a mistrial based on alleged improper remarks made by the prosecutor during closing argument. From our review of the record in this case, no error is shown as statements made by defense counsel in opening and closing arguments invited the prosecutor’s comments. See Whitney v. State, 132 So.2d 599 (Fla.1961); Ricks v. State, 242 So.2d 763 (Fla. 3d DCA 1971); Francis v. State, 343 So.2d 932 (Fla. 3d DCA 1977).
Affirmed.
